                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION
                            NO. 7:13-CR-22-1H

UNITED STATES OF AMERICA,            )
                                     )
      v.                             )
                                     )
                                     )                     ORDER
JOKWAN LAMAR HARVEY,                 )
     Defendant.                      )

      This matter is before the court on defendant’s motion for

judicial review of the restitution order, [DE #120] and motion to

temporarily      suspend   restitution      payments,   [DE      #125].        The

government has not responded, and the time for further filings has

expired.      This matter is ripe for adjudication.

      During incarceration, payment of restitution is made through

the   BOP=s    Inmate   Financial   Responsibility      Program      (IFRP),     a

voluntary program designed to assist inmates in meeting their

financial     responsibilities.      This    court   has    no     authority   to

intervene in the BOP=s Inmate Financial Responsibility Program.

Therefore, defendant’s motions [DE #120 and #125] are DENIED.

      This 11th day of January 2021.



                             __________________________________
                             Malcolm J. Howard
                             Senior United States District Judge
At Greenville, NC
#35


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